IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
ALESIA CANNON, et al.,
Plaintiffs,
V.
Civil Action No. 1:19-cv-877
AUTOMONEY, INC. and AUTOMONEY
NORTH, LLC,

Defendants

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MOTION TO REMAND
NOW COME PLAINTIFFS ALESIA CANNON, et al., through their counsel, and
respectfully move the Court, pursuant to 28 U.S.C. § 1447 (c), for an Order remanding
this civil action to the North Carolina General Court of Justice, Superior Court Division,
for the County of Guilford. In support of their motion, Plaintiffs show unto the Court that
the removal of this action by Defendants is improper because the amount in controversy
in this civil action does not exceed the sum of $75,000,00.
WHEREFORE, Plaintiffs respectfully move the Court for an Order remanding this
civil action to the North Carolina General Court of Justice, Superior Court Division, for

the County of Guilford.

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This is the 6th day of September, 2019.

/s/ Jeffrey K. Peraldo
Jeffrey K. Peraldo

N.C. State Bar No. 17556
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CERTIFICATE OF SERVICE

This is to certify that on September 6, 2019, a copy of the foregoing
PLAINTIFFS’ MOTION TO REMAND was filed with the Clerk of Court using the
CM/ECF system, which will send notification of such filing to the following:

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